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                                                     UNITED STATES DISTRICT COURT
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                                                          DISTRICT OF NEVADA
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                                                                       2:08-CR-332 JCM (GWF)
                  7     UNITED STATES OF AMERICA,

                  8                     Plaintiff,
                  9     v.
                10
                        WAYNE LAMARR GANAWAY,
                11
                                        Defendant.
                12
                13                                                  ORDER
                14           Presently before the court is the matter of United States of America v. Wayne Lamarr
                15    Ganaway, case number 2:08-cr-00332-JCM-GWF-4.
                16           On April 11, 2012, this court entered a final order of forfeiture against the defendant.
                17    Pursuant to Fed. R. Crim. P. 32.2(b)(4)(B), “The court must also include the forfeiture order, directly
                18    or by reference, in the Judgment, but the court’s failure to do so may be corrected at any time under
                19    Rule 36.”
                20           Here, the judgment does not include the forfeiture order. Therefore, pursuant to this court’s
                21    authority under Fed. R. Crim. P. 36, the court orders that the forfeiture order be included in the
                22    judgment of conviction.
                23           Accordingly,
                24    ...
                25    ...
                26    ...
                27    ...
                28
James C. Mahan
U.S. District Judge
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                  1          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the clerk of the court issue
                  2   an amended judgment of conviction, attaching a copy of this court’s forfeiture order (doc. #433).
                  3          DATED April 25, 2012.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
